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Counsel for Plaintiff and the Putative Class


                            UNITED STATES DISTRICT COURT
                                  DISTRICT OF UTAH


    SHERRY TERESA, individually and on behalf of       STIPULATED MOTION TO EXTEND
    all others similarly situated,                     TIME TO RESPOND TO MOTION TO
                                                       DISMISS (ECF NO. 29)
                        Plaintiff,
           v.
                                                       Case No. 4:24-cv-00033-AMA-PK
    MAYO FOUNDATION FOR MEDICAL
                                                       Judge Ann Marie McIff Allen
    EDUCATION AND RESEARCH,
                                                       Magistrate Judge Paul Kohler
                        Defendant.


                                     STIPULATED MOTION

         By and through counsel, Plaintiff Sherry Teresa and Defendant Mayo Foundation for

Medical Education and Research (collectively “the Parties”), respectfully file this Stipulated

Motion for an Extension of Time for Plaintiff to respond to Defendant’s Motion to Dismiss the

First Amended Complaint,1 and state as follows:

         Relief requested: Plaintiff requests, and Defendant does not oppose, a further one-week

enlargement of time for Plaintiff to file her opposition to Defendant’s Motion to Dismiss (ECF




1
    Dkt. 29.
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No. 29) and for Defendant to file its reply respectively. Plaintiff’s opposition is presently due on

September 11, 2024 and Defendant’s reply is due October 9, 2024.

         Grounds: This is a putative class action that alleges that Defendant violated Utah’s Notice

of Intent to Sell Nonpublic Personal Information Act, Utah Code Ann. § 13-37-101, et. seq. (the

“NISNPIA”) by renting, selling, exchanging, and otherwise disclosing Nonpublic Personal

Information it obtained through its sales of publications to Utah consumers without first providing

consumers notice required under the NISNPIA statute. Defendant’s Motion to Dismiss the FAC,

which was filed on July 31, 2024, seeks dismissal of Plaintiff’s claims on several grounds – that

the Court lacks subject matter jurisdiction because NISNPIA bars federal class actions, that the

Court otherwise lacks subject matter jurisdiction because Plaintiff cannot meet CAFA’s

requirements, that Plaintiff lacks Article III standing, and that Plaintiffs have failed to state a claim

under the statute because Defendant is not a covered “commercial entity” under the NISNPIA.

           Plaintiff seeks, and Defendant does not oppose, an additional one week to respond to

Defendant’s legal and factual arguments. Plaintiff previously sought, and the Court granted, a

two-week extension of time to respond.2 A further extension of time is sought because of illness

of counsel for Plaintiff and unexpected, intervening developments in other matters which required

Plaintiff’s counsels’ attention. For these reasons, counsel requires additional time to prepare an

opposition that fully addresses Defendant’s multiple grounds for dismissal. Defendant seeks, and

Plaintiff does not oppose, a similar enlargement of time for its reply. Accordingly, Plaintiff

respectfully requests that the Court adjust the briefing schedule on the motion to dismiss as

follows:

         Plaintiff’s Opposition due: September 18, 2024



2
    ECF No. 32

                                                   2
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      Defendant’s Reply due: October 16, 2024



Dated: September 9, 2024                        Respectfully submitted,

/s/ Michael E. Rowe
Michael Edward Rowe (Pro Hac Vice)              /S/ David W. Scofield
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